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                             EXHIBIT 15

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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14:31:34   1      particular operation?
14:31:36   2             A.       Yes, ma'am, to the extent of how
14:31:38   3      it can be proposed and portions of what need
14:31:42   4      to be included, yes, ma'am.
14:31:45   5             Q.       So at the time that Anadarko and
14:31:50   6      MOEX signed on to the agreement, there was
14:31:52   7      already a well plan that had been proposed by
14:31:56   8      BP; is that correct?
14:31:58   9             MS. KUCHLER:      Object to the form.
14:31:59 10              A.       When you say "well plan," are
14:32:01 11       you referring to what was attached to the --
14:32:03 12              Q.       (BY MS. HARVEY)      Yes.
14:32:04 13              A.       -- original AFE?      To that
14:32:07 14       extent, yes, ma'am.
14:32:08 15              Q.       So when they signed on to the
14:32:09 16       agreement, they were also approving of that
14:32:11 17       well plan; is that correct?
14:32:12 18              MS. KUCHLER:      Object to the form.
14:32:13 19              MR. FLANDERS:      Objection; form.
14:32:15 20              A.       Yes, ma'am.     In executing the
14:32:18 21       agreements to come into the well, including
14:32:20 22       the initial AFE, it included that well plan
14:32:23 23       that was attached.
14:32:26 24              Q.       (BY MS. HARVEY)      If prior to the
14:32:29 25       drilling of the well a party wanted to


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14:32:32   1      suggest a revision to that well plan, could
14:32:35   2      it have done so?
14:32:38   3             MS. KUCHLER:      Object to the form.
14:32:39   4             A.       I'm sorry --
14:32:40   5             MR. FLANDERS:      Objection.
14:32:42   6             A.       -- what was that again?        I'm
14:32:45   7      sorry.
14:32:45   8             Q.       (BY MS. HARVEY)      Under this
14:32:45   9      agreement could a party propose a revision to
14:32:49 10       the well plan?
14:32:51 11              A.       Under this agreement a party,
14:32:53 12       yes, ma'am, can propose a revision.
14:32:55 13              Q.       To your knowledge, did Anadarko
14:32:59 14       propose any revisions to the well plan?
14:33:02 15              A.       Not to my knowledge, no, ma'am.
14:33:04 16              Q.       Did MOEX?
14:33:05 17              MR. FLANDERS:      Objection; form.
14:33:07 18              A.       Not to my -- not to my knowledge
14:33:09 19       did they propose any --
14:33:11 20              Q.       (BY MS. HARVEY)      Okay.
14:33:11 21              A.       -- revisions.
14:33:13 22              Q.       Let's go to Page 50, which is
14:33:20 23       still in the same article, Exploratory
14:33:24 24       Operations.
14:33:29 25                       And does -- this provision, is


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